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            UNITED STATES COURT OF APPEALSKELLY L. STEPHENS, Clerk
                 FOR THE SIXTH CIRCUIT
SHAWN LIGGONS                               Cout of Appeals No. 23-3890


        Liggons’ – Appellant

V.                                          Trial Court No. 3:20-cv-01208


GENERAL MOTORS, LLC; UNITED AUTOMOBILE, AEROSPACE AND
AGRICULTURAL INPLEMENT WORKERS OF AMERICA, LOCAL 14


        Defendants – Appellees


          On Appeal from the United States District Court
                for the Northern District of Ohio
                      Case No. 3:20-cv-01208
                     Judge Jeffrey J. Helmick


        REPLY BRIEF OF APPELLANT SHAWN LIGGONS




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                                  Jurisdiction

   Pursuant to 28 U.S.C. § 133, Liggons incorporates the Jurisdiction Statement

appearing at page 4 of his Opening Brief. Pursuant to 28 U.S.C. § 1291, this Court

                      has Jurisdiction over Liggons’ Appeal.



                                      Facts

  Liggons’ incorporates the Facts that appear on pages 4-5 of his Opening Brief.




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                                INTRODUCTION

      This Case originated IN THE UNITED STATES DISTRICT COURT FOR

THE NORTHERN DISTRICT OF OHIO WESTERN DIVISION, Lucas County,

Ohio. The Liggons’ brought a discrimination claim against Defendant GENERAL

MOTORS, LLC. (GM) and Defendant UNITED AUTOMOBILE, AEROSPACE

AND AGRICULTURAL INPLEMENT WORKERS OF AMERICA, LOCAL 14

(UAW or Union) on June 2, 2020.

      A. FIRST CLAIM FOR RELIEF AGAINST DEFENDANTS - Racial
         Discrimination-Title VII 42 U.S.C. Sections 2000e et seq.
      B. SECOND CLAIM FOR RELIEF - Racial Discrimination 42 U.S.C.
         Section 1981.
      C. THIRD CLAIM FOR RELIEF - Americans with Disabilities Act 42
         U.S.C. Sections 12101 et seq.
      D. FOURTH CLAIM FOR RELIEF - Retaliation.

      Liggons’ is an African American citizen of the United States. Liggons’ has

been employed with the Defendant Company General Motors since February 29,

2016, most recently as a Quality Operator. Liggons’ employment was terminated

from GM on January 7, 2021.

      Defendants General Motors, LLC (“GM”) and United Automobile,

Aerospace and Agricultural Implement Workers of America, Local 14 (the “Union”

or “UAW”) seek summary judgment on Liggons’ Shawn Liggons’ claim of

retaliation in violation of Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. § 2000e et seq. (RE 42 and 43). Liggons’ filed briefs in response to

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Defendants’ motions. (RE 50 and 55). Defendants filed briefs in reply. (RE 53, 54,

59, and 60).

                             STATEMENT OF THE FACTS

      1. Attendance

      GM claimed that Liggons’ had an attendance problem. Between June 2016

and April of 2019, Liggons’ had 6 recordable attendance instances in a 33-month

period (approximately 1000 days). One was the result of death in family, one was

due to an illness covered by FMLA, one was due to severe weather and the last one

(“GM” turned one event into two events) was because Liggons’ was dealing with

mental and emotional issues.

      While both Defendants would like you to believe that attendance was the

problem, when actually “GM” assessment of discipline was the primary cause of

the problem.

      A party seeking Summary Judgment must show "that there is no genuine

dispute as to any material facts and the movant is entitled to judgment as a matter

of law." Fed. R. Civ. P.56(a). The court is "obliged to view the facts and inferences

reasonably drawn therefrom in the light most favorable to the non-movant party."

Gordan v. Schilling, 937 F.3d 348, 356(4th Cir. 2019) (quotation omitted).

      The discipline GM issued to Liggons’ for violating Shop Rule 9 was

separate from discipline it issued for violating Doc. 8.

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            a. Shop Rule #9

                  On January 12, 2018, Liggons’ reported to work late, but less
               than 4 hours late, due to inclement weather. GM issued Liggons’ a
               30-day suspension for violating Shop Rule 9. However, Liggons’
               had all available vacation days and Liggons’ timecard shows that
               Liggons’ called his tardiness in once his transportation broke down
               (The City Bus). Furthermore, Liggons was charged vacation time
               for the time he was late, paid and suspended for the same event.
               (RE 40, PageID 637, Appeal Exhibit A, B.)
                  There are only four relevant questions; 1.) Was the weather
               inclement on January 12, 2018. 2.) Was the Liggons’ the only
               employee late on that date?1 3.) Did GM suspend every employee
               that was late on that date? 4.) Liggons’ had no discipline actions
               from November 2016 until January 2018 (well over a year), so was
               a 30-day suspension appropriate?2

            b. Doc. 83

                  On June 29, 2016, Liggons’ did in fact call into work 30
               minutes prior to the start of his shift. GM has a record of all calls
               made to the call-in line (800-222-8889). Even if you took into
               consideration the July 4th Holiday (Monday that year), GM
               disciplined Liggons’ over 10 days later. Furthermore, Liggons”
               was charged a vacation day (Liggons’ used a [VR] Vacation
               Restriction Day (.Id) and was paid and written-up for the same
               event.


1
  GMs response to the Ohio Civil Rights Commission was that exactly 20
employees were late for work that day. Ten Black employees and Ten White
employees. On March 29, 2018, two Caucasians employees; Ryan Palmer claimed
he had experienced a flat time while at lunch and he never returned to work that
evening, while on the same evening Ashley Hollerbach returned over 30 minutes
late from lunch intoxicated. Neither employee faced any type of discipline.
2
  GM claimed that they revised the suspension to 14-Days, however, pay records
for that month will show that Liggons’ did not return to work until February 2018.
3
  This procedure is separate and distinct from the plant's standard corrective
disciplinary procedures. All instances of employee absence, except the excludable
absences as defined in paragraph 5, will be addressed through this procedure.
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                    On September 30, Liggons’ called in for an FMLA excused
                absence. GM has a record of that call as well. Both Defendants
                were aware of the FMLA excused absence, yet the Union allowed
                GM to administrate discipline over 45 days later on November 17,
                2016.
                    On August 16, 2017, Liggons’ was absence due to a death in the
                family. Liggons’ did not have any vacation days available to use.
                Again, the Union allowed the GM to administer discipline 12 days
                later. Further, Liggons’ received a 7-Day suspension masquerading
                as a week suspension. Liggons’ was suspended Thursday, Friday,
                Monday, Tuesday, Wednesday, Thursday, and Friday although the
                Doc. 8 policy called for a 1-week suspension. (RE 39, PageID 424,
                RE 48-34, 36.)
                    On April 10, 2019, Liggons’ was given back-to-back suspension
                of 2-weeks and 30-days according to Doc. 8 steps 4 and 5. (Id.).
                However, Liggons’ timecard for week ending 04-07-2019 shows
                that Liggons’ had available vacation time of 52 hours, yet 24 hours
                of vacation was denied by GM. The timecard also shows that
                Liggons’ called in every day that week to the call-in line. (RE 49-
                13, Appeal Exhibit C, D.)


      On August 21, 2017, Liggons’ wrote a letter to Robin Marr (RE 49-10)

stating that he disagreed with how his Doc. 8 penalty was administered because he

was denied the opportunity to file a grievance. Paragraph 3 of Memorandum Of

Understanding – Special Procedures for attendance states the that;

      “Grievances filed in regards to this Special Procedure will be initiated at
      the Second Step and shall be strictly limited in scope to claims that the
      procedure was improperly administered.”

      According to 5 CFR 532.501 an Administrative workweek is 7 consecutive

calendar days and a Basic workweek for full-time employees means the days and

hours within an administrative workweek which make up the employee's

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regularly scheduled 40-hour workweek. Additionally, 29 CFR 778.105

determines that an employee's workweek is a fixed and regularly recurring period

of 168 hours—seven consecutive 24-hour periods. It need not coincide with the

calendar week but may begin on any day and at any hour of the day. Once the

beginning time of an employee's workweek is established, it remains fixed

regardless of the schedule of hours worked by him. This is consistent with Ohio

Rev. Code§ 1.44(A) which states that a “Week” means 7 consecutive days and a

“Year” means 12 consecutive months.

      On the April 10, 2019, back-to-back suspension, Union still refused to allow

Liggons’ to file a grievance. Liggons’ had available vacation time and called in

according to call in procedures, yet GM denied Liggons’ available vacation and

suspended Liggons’ from 04-10-2019 until 05-31-2019. (RE 49-6.)

      GM fail to acknowledge that Liggons’ time on record was greater than 18

months (20 Months). (RE 39, PagelD 424.) Furthermore, all other absences

qualified per paragraph 5 under Doc. No. 8 (Id. At 420-421), therefore cannot be

extended by periods of leave.

      Liggons filed a complaint with Ohio Civil Rights Commission (OCRC) on

April 30, 2018. (Id. at 372.)




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      2. Raise

      On June 2, 2016, Liggons’ was hired as an “IN-PROGRESSION”

employee with a starting pay rate of no less than $17.00 per hour with pay

progression and benefits for In-Progression employees covered in the 2015 GM-

UAW National Agreement. (RE 39, PageID 399.) Liggons’ anticipated an annual

raise as set forth in the collective bargaining agreement (“CBA”). (RE 41-1, RE

49-34.)

      On March 6, 2017, Liggons’ received a raise as anticipated. However,

Liggons’ did not receive his next raise until May 14, 2018, which should have

come in March of 2018. Furthermore, Liggons’ did not receive his 2019 raise until

September 29, 2020 (777 days later). Liggons’ filed two grievances (April 24,

2018 & March 12, 2019) regarding his annual raise.

      Liggons’ went 2 years (05/14/2018 until 06/29/2020) without a wage

increase. With the exception of 2018 and 2019 expected wage increase, Liggons’

has never gone a period of 12 months or longer without a wage increase as an

employee or as a temporary employee. (RE 49-47.) GM, through its own

admissions shows that prior to 2018, Liggons’ had never received a pay increase

greater than one year (12 months) (RE 41-3.)

      During the course of time between April 2018 and January 2021, Liggons’

made several dozen attempts to rectify his raise issues. Liggons’ has written letters

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to Jeff King and Mike Greason (RE 49-8, 21, 22.) Liggons’ also filed complaints

with the Ohio Civil Rights Commission (OCRC) (RE 49-24, 25, 26) and The

National Labor Relationship Board (NLRB) (RE 49-4, 5, Appeal Exhibit H, I)

regarding his pay issues.

      Sometime between May 9 and May 20, 2019, Liggons’ spoke with Chad

Cattell of the UAW region 2B office, Chad spoke of an “MOU”, but refused to

provide Liggons’ with a copy. (RE 41-2.)4

      **Note: Liggons filed grievance D 09040 on April 24, 2018, and
      grievance D 09092 on March 12, 2019.**

      On August 4, 2020, the NLRB conditionally dismissed the claim stating that

Liggons’ “ultimately received” a copy of the “MOU”. (RE 49-4 p. 2.)

      Additionally, Liggons’ had no knowledge that grievance D 09040 & D

09092 (RE 49-1)5 were allegedly settled prior to Liggons’ deposition on July 19,

2022. (RE 39, PageID 339-342.)

      Both Defendants claim that Liggons’ was subject to paragraph 98 and 99 of

the National Agreement clearly stating that:

      * Grievance has not met the requirements to satisfy para. 98 & 99 of the
      National Agreement.”


4
  Defendant introduced this document sometime after April 2019 but failed to
disclose the birth of this document and where this document resides. Liggons’
objects to this document entirely pursuant to Ohio R. Evid. 901 (A).
5
  Liggons’ presented these 2 grievances to the OCRC, and they were stamped
received on May 7, 2019, by OCRC.
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Taking a closer look at paragraph 98 and 996 of the National Agreement,

Defendants shows an elevated level of intentional deception because Liggons’

could never be mistaken as an “Traditional Employee.” (RE 39 PageId 399, RE 41-

1, RE 49-3, 5, 12, 34, 35, Appeal Exhibit F, H, I.)

      Although the memorandum defines what "weeks worked" is, the UAW and

GM's Memorandum of Understanding Re: Calculation of Wage Progression that

was allegedly signed and produced on March 4, 2016, does not indicate what form

of calculation is measured (i.e., 26, 52, 78 “weeks worked” as it did in the 2011

CBA.) Secondly, it shows no correlation to the Memorandum of Understanding

UAW-GM Wage and benefits agreement for employees in-progression since that

document does not indicate or use either phrase "weeks worked" or "52 weeks”, it

just simply uses the phrase “12 Months.” Furthermore, the first paragraph of the

document states that:

      “This Memorandum confirms the understanding between the parties
with respect to the calculation of wage progression for employees, regular
active and temporary, hired after the effective date of the 2015 National
Agreement.”

Liggons’ contends that there is only one true question. Was Liggons an employee

in progression or a regular/traditional employee according to paragraph 98 of the

2015 National Agreement? (RE 39, PageId 298-399.)


6
 Paragraph 99 is inconsequential as it relates to Performance Bonus only, which all
full-time employees are eligible to receive.
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      Therefore, neither Defendants can use this as a bases for contentious. (RE

41-1, RE 41-2.) Both Defendants have yet to authenticate and manifest this

“MOU” Re: Calculation of Wage Progression existence other than it just showing

up one day. This is one of two arguments that both Defendants are unable to

provide a documental trail, even if they try to equate this one to the language in the

2011 CBA, they will still fail in context alone, making it unenforceable.

      Lastly, Liggons’ has provided several letters to the UAW, OCRC and NLRB

as recently as September 2020 regarding his raise issues and requesting that the

two grievances in question be resolved. However, neither Defendants can provide

any documentation other than GM’s Defense Exhibit CC, which was show to

Liggons’ on July 19, 2022, during his deposition (RE 39 PageID 338-342, 477-

478.), that either of these grievances had been settled.

      Liggons’ filed complaints with OCRC on March 14, 2019. (RE 39 PagelD

375) Liggons’ also filed complaint with NLRB on August 27, 2018 (Id. At 394)

and again on September 20, 2019 (RE 49-5) for failure to honor pay increases per

language in the "CBA". C) Liggons’ did not file a complaint against GM in 2018

with OCRC, but in fact filed a complaint with the NLRB. In 2019 Liggons’ filed

complaints with both OCRC & NLRB regarding unresolved pay grievances.




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      3. Demotion

      Liggons’ suffered a demotion from Team Leader position in 2020. Liggons’

started training for Team Leader position in his department between October and

November 2019. On December 10, 2019, Liggons’ took the team leader test and

scored a 90% over the 80% required passing score. Liggons’ was given

confirmation on passing from test administered by Jim Honaker. On February 10,

2020, Liggons started his 3-day team leader training class. Honaker proceeded

with processing all necessary requests to allow Liggons’ computer access for

official Team Leader responsibilities. (RE 49-48.)

      Liggons’ was questioned about passing the Team Leader test in December of

2019. Liggons’ dismissed the allegations of not passing with Bridgette Cole, after

nothing else was said about the test. In February 2020, Liggons’ attended the 3-

day GMS (Team Leader) training class. (RE 49-18 @ 3.) Liggons’ continued to

train for Team Leader until May 20, 2020, also receiving $1 per hour increase for

Team Leaders pay.

      Liggons’ was told in June 2020 that he could not be Team Leader because

the Team Leader test had 2 math questions and Liggons’ answered one of the math

questions wrong which resulted in an automatic failure. Liggons’ filed an ethics

complaint on June 28, 2020. GM interviewed Liggons’ regarding ethics

complaints on July 10, 2020, and followed up on July 24, 2020. (RE 49-17, 49-40.)

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      Liggons’ objected to GMs’ internal investigation into the matter. Liggons’

also filed grievance D 09203 on July 12, 2020. Brandy, a Caucasian female from a

different department on the other side of the plants started working as Team Leader

on her days off, Liggons’ would be asked to work as Team Leader when no-one

else would be available. GM affirmed that no such language existed in regards to

missing one out of two math questions would result in an automatic failure of the

Team Leader test. (RE 49-40.) GM further states that Liggons’ has a combined

score of "59", even though GM offers two categories of improvement in scores,

GM fails to give a total account of Liggons’s score. (Id. at 3, 10.)

      4. Harassment

      Liggons’ faced harassment on June 25, 2019, from Vanessa Hamilton, Robin

Marr, and Peggy McKnight. (RE 49-19.) After reporting the harassment, Liggons’

went to medical to get out of harm's way, Liggons’ was suspended for 2 weeks

immediately afterwards. (RE 49-49 @ 2.)

      Liggons recorded his disciplinary interview. During the interview, after

acknowledging that Liggons’ told Paulson that he was being harassed, Paulson says

that this is not about that, “this about you going to medical without a medical

pass.” GM ignored Liggons’ cry for help when Liggons’ brought the situation up

to management. Mike Paulson, upon Liggons’ making his complaint received a

phone and left immediately. Liggons’ with tears in his eyes did not sway Paulson

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at all. Liggons’s feeling hopeless in his situation went to medical where Marsha

White, the on-duty nurse, allowed Liggons’ to come in and gain his composure,

knowing that he did not have a medical pass. When Liggons’ left medical he went

directly to Paulson. Paulson immediately put Liggons on notice and suspended

him for two weeks because he went to the medical office without a pass on his

break. Liggons’ also made his claim to Ron Holland, RWD Shift Manager, He did

not attempt to investigate my claims of harassment.

      Furthermore, Liggons did not get a chance to file a grievance until July 12,

2019, after he returned from his suspension. Management had made no effort to

investigate my claim of workplace harassment and hostile work environment. In

fact, DeRonnie Turner did not interview Liggons’ until July 16, 2019.

      Liggons’ was harassed by Jeff King on February 10, 2020. (RE 49-16.)

King claimed that Liggons’ attempted to enter the plant on King's credential, which

is why he pushed Liggons’ back and closed the door. GM and the UAW failed to

recognize the proper procedure for entry into the facility at that location. Turner

was only one to review the camera and Turner did not interview Liggons’ until

September 14, 2020. (RE 49-42.)

      Liggons’ recorded that interview. Liggons’ has direct evidence that will

contradict Turners claim on when he reviewed the video tape. Liggons held back

this evidence in fear of retribution from both Defendants. Turner stated that he

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watched the video tape of Liggons’ entrance into the plant on February 10, 2020,

and found Liggons’ claims unsubstantiated. Turner goes on to say that he watched

the video and interview Jeff King on February 11, 2020. With Liggons making the

claim of harassment and signing a statement on the 10th, Liggons’ should have been

interviewed before King and even interviewed before viewing of the video tape.

Turner had four days to interview Liggons’ but refused not to interview him. If it

were not for Liggons’ sharing his disbelief to Letecia Pickens, Turner would not

have even conducted his interview on September 14 th.

       5. Discipline

       In 2016 Liggons’ went from zero discipline in August 2016 to facing a 30-

day suspension in November 2016. Liggons’ vigorously pursue vindication over

the 2016 discipline he received from the Defendant. Liggons’ requested to meet

with his UAW civil rights representative in August of 2016 but was not allowed to

meet with them until December of 2016. Liggons’ also pursued his right to appeal

within Defendant UAW through the grievance process only to be met with

hostility.

       During the 138-day period from April 10, 2019, through August 26, 2019,

Liggons’ was suspended for 88 days. Comparable to the discipline Liggons’

received in 2016, where Liggons’ went from zero discipline to facing a 30-day

suspension (on his next suspension) within a two-month period. In 2016, Liggons’

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was suspended for not accepting the assistance from his union representative (RE

49-23), who Liggons’ believed was the reason for his discipline. Liggons’ was also

suspended for going to medical and other accusations both Defendants claimed that

they had written statements from other employees but did not have to produce

them to Liggons’. That would, at worst, violate Liggons’ "Due Process Rights."

      Even if GMs’ suspension of Liggons’ was "JUST" on January 12, 2018,

Liggons’ had gone 14 months without any alleged incident. Furthermore, since

Liggons’ January 12, 2018, was not "Just", Liggons’ record should have been

cleared with no incidence from November 2016 through June 2019. This could be

the said the same for Liggons’ attendance which was without incidence for 20

months from August 2017 through April 2019. In fact, every suspension Liggons’

received after January of 2018 was in excess of 2-weeks.

      6. Retaliation

      Defendants In the context of 42 U.S.C.S. § 2000e-3(a), a Plaintiff must show

that a reasonable employee would have found the challenged action materially

adverse, which in this context means the anticipated adversity well might have

dissuaded the employee from making or supporting a charge of discrimination.

Burlington N. & Santa Fe Ry. v. White (2006) - 548 U.S. 53, 126 S. Ct. 2405

(2006).




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      During Liggons employment with GM, Liggons’ protested every level of his

discipline received. Liggons’, during 2016, went from zero discipline to

anticipating a 30- days suspension on his next alleged infraction. This was done

within a two-month period. Liggons’ initially pursued regress through remedies

outlined throughout the "CBA" and with no avail Liggons’ pursued other avenues

to resolve actions taken against him. Liggons’ was met immediately with animus.

Liggons’ took his concerns to the Ohio Civil Rights Commission and National

Labor Relations Board after his failure with UAW.

      Liggons’ did not have any alleged shop rule discipline between January 12,

2018 and June 25, 2019 (529 days). Even Liggons’ Doc. No. 8 (Attendance

Improvement) had a gap of time from August 16, 2017 to April 10, 2019 (602

days). (RE 49-47)

      In 2019 alone, Liggons’ was suspended twice for 2-weeks and three times

for 30-days. One suspension was due to Liggons’ reporting that he was being

harassed. The second harassment Liggons’ received was in February 2020.

Liggons’ believes that is why he was demoted from his Team Leader Position.

Finally, Liggons’ did not receive a raise from May 14, 2018 until June 29, 2020 (25

months). Both Defendants had well over a year to produce the MOU RE:

Calculating Wage Progression, especially since the alleged document was dated




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March 4, 2016. (RE 41-2). However, Liggons’ asserts that the document is

immaterial.

      7. Termination

      Liggons’ was terminated on January 7, 2021 for allegedly violating GM’s

alleged “Unauthorized Recording Policy.” (RE 39, PageID 479, RE 48-3.)7 GM

argues that Liggons’ admitted that he was “quite aware” of the policy, however

Liggons’ was only admitting to the policies in the GM Code of Conduct, Full

Social Media Policy, Global Human Rights Policy, Global Integrity Policy, Code of

Conflict and Code of Ethics. Which none of them refers to the alleged

“Unauthorized Recording Policy.” Secondly, GM only referenced the first part of

Liggons’ Deposition on that subject matter. Liggons’ reaffirms that he has never

seen that document before and has been unable to locate it since he first saw it on

January 7, 2021. (RE 39, PageID)

      The document Liggons’ received lacked actuality in many respects, anyone

can type words to a piece of paper and print it, yet GM provides this document

with no hint to where and what 107 and 109 says, leaving this document

immaterial.




7
 GM introduced this document on January 7, 2021, but failed to disclose the
origins of this document and where this document resides. Liggons’ objects to this
document entirely pursuant to Ohio R. Evid. 901 (A).
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      Liggons’ did not seek leave to amend his original compliant for 3 reasons;

First Liggons’ believed that from conversations with his prior counsel that the

appeal process would take care of those issues. Second Liggons’ has continued to

seek counsel and take over this case in Liggons’ behave, however Liggons’ has not

been able to financially secure counsel. Third, Liggons’ hoped that both

Defendants would have settled by now, not understanding the legal process and its

complexity, which Liggons’ lacks the experience.8

                                   LEGAL STANDARD

      In evaluating whether claims will be preempted by the federal Labor

Management Relations Act (LMRA), the federal doctrinal principles emphasize

that claims must be independent of a collective bargaining agreement (CBA). “If

the resolution of a state-law claim depends upon the meaning of a collective

bargaining agreement, the application of state law (which might lead to

inconsistent results, since there could be as many state law principles as there are

States) is pre-empted and federal labor-law principles -- necessarily uniform

throughout the Nation -- must be employed to resolve the dispute.” Lingle v. Norge

Div. of Magic Chef, Inc., 486 U.S. 399, 405-06 (1988). This policy is in place in

order prevent inconsistent results among the states and create uniformity


8
  Liggons’ is currently researching to find out if he can still seek leave to amend at
this stage of this case.

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throughout the United States. “As long as the state-law claim can be resolved

without interpreting the agreement itself, the claim is ‘independent’ of the

agreement for Sec. 301 pre-emption purposes.” DeCoe v. General Motors Corp., 32

F.3d 212, 216 (6th Cir. 1994) (quoting Lingle, 486 U.S. at 409-10).

      In order to determine whether the state claim is sufficiently independent of

the CBA, the Sixth Circuit follows a “two-step inquiry” process:

      First, courts must determine whether resolving the state-law claims would
      require interpretation of the terms of the collective bargaining agreement. If
      so, the claim is preempted. Second, courts must ascertain whether the rights
      claimed by the plaintiff were created by the collective bargaining agreement,
      or instead by state law. If the rights were created by the collective bargaining
      agreement, the claim (As previously explained, Liggons’ claims are federal
      claims that are not preempted, as opposed to state law claims that could
      possibly be preempted) is preempted. In short, if a state-law claim fails
      either of these two requirements, it is preempted by § 301.


Mattis v. Massman, 355 F.3d 902, 906 (6th Cir. 2004) (citing DeCoe., 32 F.3d at

216-17). “If the plaintiff can prove all of the elements of his claim without the

necessity of contract interpretation, then his claim is independent of the labor

agreement.” DeCoe, 32 F.3d at 216 (citing Dougherty v. Parsec, Inc., 872 F.2d 766,

770 (6th Cir. 1989)).

      First, the right of protection against discrimination based on race or

disability and against retaliation is a right given to Liggons’ by federal statutes, not

the Collective Bargaining Agreement. Further, the mere fact that a broad

contractual protection against discriminatory—or retaliatory— discharge may
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provide a remedy for conduct that coincidently violates federal law does not make

the existence or the contours of the law violation dependent upon the terms of the

private contract. Lingle v. Norge Div. of Magic Chef, Inc., 486 U.S. 399, 412

(1988).

      Title VII states that “[i]t shall be an unlawful employment practice for a

labor organization to … discriminate against, any individual because of his race,

color, religion, sex, or national origin.” 42 USC 2000e-2(c)(1). At the crux of the

issue is whether the UAW treated Liggons’ differently than other members of the

union. This does not require any interpretation of the Collective Bargaining

Agreement between the union and the company. Liggons’ Complaint alleges that

he was treated differently, in that non-African American members of the Union

were treated more favorably in the union’s representation of them. Although both

Defendants attempt to characterize Liggons’ claims as a contract violation to avoid

liability, his claims are rooted in discrimination, for which no interpretation of the

Collective Bargaining Agreement is required. Thus, Liggons’ claims are not

preempted.

      Title VII of the Civil Rights Act of 1964 (the "Act") prohibits an employer

from retaliating against an employee who has "made a charge, testified, assisted or

participated in" any charge of unlawful discrimination under the Act. Per federal

case law and regulatory agency guidance, there are three essential elements in a

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claim of retaliation: 1. Protected activity, 2. Adverse action, and 3. Causal

connection. Cruz v. Coach Stores, Inc, 202 F.3d 560, 566 (2d Cir. 2000).

      Adverse actions include(s): (1) denial of promotion; (2) non-

selection/refusal to hire; (3) denial of job benefits; (4) demotion; (5) suspension;

(6) discharge; (7) threats; (8) reprimands; (9) negative evaluations; (10)

harassment; or (11) other adverse treatment that is likely to deter reasonable people

from pursuing their rights.

      Title VII retaliation claims must be proved according to traditional principles

of but-for causation. Title VII’s anti-retaliation provision appears in a different

section from its status-based discrimination ban and uses the term "because"

indicating that retaliation claims require proof that desire to retaliate was the but-

for cause of the challenged employment action. University of Texas Southwestern

Medical Ctr. v. Nassar, No. 12-484 (June 24, 2013).

                                      Legal Argument

      The District claimed that Liggons’ does not allege any specific

discriminatory conduct occurred in the six months immediately preceding the

filing of his complaint on June 2, 2020. (RE 16, PageID 114.) Therefore, Liggons’

claims alleging Defendants discriminated against him on the basis of his race and

disability in violating his rights under the CBA are barred by the statute of

limitations. However, Liggons reported that he was harassed by Jeff King on

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February 10, 2020. (RE 49-16, RE 49-42, RE 62, PageID 1449). Liggons’ also

claims that he was demoted May 18, 2020 (Id. @ 1450.) Due to the pandemic,

Liggons was not able to file his complaint in person with OCRC as he was

accustomed to doing, therefore he had to make his complaint online. That claim

was processed on August 3, 2020. (RE 39, PageID 379-380.) Liggons

discrimination claims were dismissed as untimely LMRA § 301 claim. Liggons’

discrimination claims could be made without the assumption that the terms of the

CBA. Wheat v. Fifth Third Bank, 785 F.3d 230, 237 (6th Cir. 2015) (citing 42

U.S.C. § 2000e-2(a)(1))

      Therefore, especially using the “Continuous Violation Doctrine”, See Abner

J. Morgan, Jr., v. National Railroad Passenger Corporation, Dba Amtrak,

Defendant-appellee, 232 F.3d 1008 (9th Cir. 2000). Plaintiff asserts that not only is

this a hybrid § 301 / fair representation claim filed timely, but it is also a claim of

discrimination, harassment, hostile work environment and retaliation against both

Defendants GM and UAW Local 14. Plaintiff could not rely on an interpretation of

the terms of an underlying CBA if a breach exists. Martin v. Lake CV. Sewer Co.,

Inc., 269 F.3d 673, 679 (6th Cir. 2001). Where a CBA establishes a mandatory

grievance procedure in which a union pursues claims on behalf of its aggrieved

employee, an employee will be bound by the results obtained in the grievance

process subject to very limited judicial review. DelCostello v. International

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Brotherhood of Teamsters, 462 U.S. 151, 164 (1983). The Third Circuit Court of

Appeals has explained: Employees may appeal an adverse decision under § 301 if

they can show that their union breached its duty of fair representation, that is, that

the union’s conduct was arbitrary, discriminatory, or in bad faith. Employees may

also have their claim heard in federal court under § 301 if the grievance procedure

was a ‘sham, substantially inadequate or substantially unavailable.’

      The Federal Medical Leave Act (FMLA) provides certain employees with

up to 12 weeks of unpaid, job-protected leave per year. 29 U.S.C. § 2612 (a)(1)(D).

An employee entitled to FMLA leave must be restored to his or her former

position or equivalent position upon completion of leave, and “[t]he taking of leave

shall not result in the loss of any employment benefit accrued prior to the date on

which the leave commenced.” Id. § 2614(a)(1)-(2). Kinds v. Ohio Bell Telephone

Company (2013.)

      The District Court stated that Liggons’ claims these provisions of the 2011

CBA do not apply to him. (Doc. No. 50 at 13). But he does not explain why, and

there is nothing within the 2011 CBA which appears to exempt Liggons from

coverage. Paragraph 99 of the 2011 CBA states the wage policies do not apply to

skilled trades job classification, (Doc. No. 49-11 at 2), but there is no evidence that

Liggons’ position was classified as a skilled trade job.




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      Liggons’ has stated that paragraph 98 does not apply to him because he is

not governed by the 2011 CBA. Liggons is governed by the terms of the 2015

CBA. Paragraph 99 in the 2011, 2015 and the 2019 CBA because its language

change from to 2011 to 2015 as it only relates to “Performance Bonus.” A

Performance Bonus is paid to every employee with very little restrictions, making

it inconsequential. However, paragraph in the center of the controversy. Liggons’

is not classified as a traditional employee; therefore paragraph 98 does not apply to

Liggons’ in any manner. Paragraph 98 is cost of living adjustment (COLA) that

traditional employees gave away in concession during GM’s bankruptcy during the

2000’s. Liggons’ was hire as an “IN-PROGRESSION EMPLOYEE.” (RE 39,

PageID 399.)

      The Four Corner Rule stipulates that if two parties enter into a written

agreement, they cannot use oral of implied agreements to contradict the terms.

Therefore, Defendant has an implied and express terms in duty of Covenant of

Good Faith and Fair Dealing.

      A Title VII retaliation claim has different elements than a Title VII

discrimination claim, because the “‘materially adverse action’ element of a Title

VII retaliation claim is substantially different from the ‘adverse employment

action’ element of a Title VII race discrimination claim.” Laster v. City of

Kalamazoo, 746 F.3d 714, 719 (6th Cir. 2014).

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      A plaintiff asserting a retaliation claim “must show that a reasonable

employee would have found the challenged action materially adverse, which in this

context means it well might have dissuaded a reasonable worker from making or

supporting a charge of discrimination.” Burlington N. & Santa Fe Ry. Co. v. White,

548 U.S. 53, 68 (2006).

                                    Prima Facia

      The prima facie requires that evidence showing: (1) he engaged in activity

protected by Title VII; (2) his exercise of such protected activity was known by the

defendant; (3) thereafter, the defendant took an action that was “materially

adverse” to the plaintiff; and (4) a causal connection existed between the protected

activity and the materially adverse action. If a prima facie case is established, the

burden of production shifts to the Defendants to identify a legitimate, non-

discriminatory reason for the materially adverse actions. Abbott v. Crown Motor

Co., Inc., 348 F.3d 537, 542 (6th Cir. 2003). The burden then returns to the

Plaintiff to show that the Defendants’ proffered reason is a pretext for

discrimination.

      1. Engaging in Activities Protected by Title VII

      Neither Defendants disputes that Liggons’ engaging in activities protected

by Title VII.

      2. His exercise of such protected activity was known by the Defendant

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           The UAW did not dispute that Liggons’ protected activity was known by

the Defendant, however, GM disputes that they knew Liggons’ had engaged in

protected activity. GM would have gotten the same notice as the UAW, from the

OCRC and the NLRB. Is GM saying that none of Liggons’ complaints were

investigated? GM provided evidence that 3 individuals received letters addressed

to them regarding Liggons’ complaints. Sherita Edge (RE 39, PageID 370, 373),

DeRonnie Turner (RE 39, PageID 377, 386, 391), and James Ingram (RE 39,

PageID 396). All three individuals are decision makers along with Liz Bezerko,

Trish Long, Leticia Pickings (RE 53-1), Amy Nordstandt, Shanna Gordon, Sharita

Edge.

        The cat's paw theory holds that an employer can be liable for unlawful

retaliation or discrimination even when the decisionmaker did not act with a

discriminatory or retaliatory motive if he/she was influenced by another employee

who did have a discriminatory or retaliatory motive.

        3. The defendants took an action that was “materially adverse” to the
           plaintiff

        GM does not dispute that the suspensions Liggons received constitute

Materially adverse actions. (RE 62, PageID 1455.) The UAW failure to resolve

grievance D 09040 and D 09092 shows that the UAW were intentional. The UAW

Knew that Liggons was not and is not a “Traditional Employee”, specifically Jeff

King, Chairperson of Local 14, because he is on the contract negotiation team.
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Secondly, paragraph 98 specifically says that “if your wage is $27.79”, therefore

Liggons’ could not have ever been mistakenly categorized as a Traditional

Employee with his wages stuck at $19.50 for two years. Third, with King being on

the negotiating team, he is well aware that paragraph 98 in the 2011 CBA was

completely rewritten in the 2015 CBA. Fourth, the UAW spoke of an MOU dated

March 4, 2016, yet they have no evidence to show the documents existence prior to

April or 2019. Lastly, if that MOU truly existed why did King write a letter to

Liggons’ claiming his grievance was at step 1½ on July 23, 2018 (RE 49-22).

      The UAW showed the same level of deniability when it came to Liggons’

Doc. No. 8 suspensions (not filing of grievances) and any suspensions Liggons’

received after January of 2018 which equated to greater than two weeks every

time. Liggons receive a suspension 100% of the time of any allegation. The UAW

allowed Liggons’ to be suspended for two weeks right after Liggons’ made a

complaint that he was being harassed.

      4. A causal connection existed between the protected activity and the
         materially adverse action

      Both Defendants have been successful in misdirection. Liggons’ filed his

first OCRC complaint in October of 2017, Liggons’s was suspended in January of

2018 for reporting to work late. Temporal proximity still exists knowing that each

complaint investigation may take anywhere from 60 to 90 days. In the Sixth

Circuit, "temporal proximity alone can be enough" to establish causation. Montell
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v. Diversified Clinical Services, 757 F.3d 497, 505 (6th Cir.2014). The first

question, was it severe weather on that day Liggons’ was late? Was Liggons’ the

only employee late on that day? If Liggons’ was not the only person late on that

day, did those people receive a 30-day suspension or just a suspension? If it was

severe weather on that day, was that tardiness justified with a 30-suspension? Why

wasn’t Liggons’ allowed to use a vacation day?

      Liggons’ filed a complaint with the NLRB on February 21, 2019, in April of

2019 Liggons’ was suspended for 45-days. Liggons filed a complaint over his 45-

day suspension. In June of 2019, Liggons’ was suspended for 2-weeks after he

reported that he was being harassed and subsequently suspended for another 30-

days when he returned back to because he was 57 minutes late. Liggons was

suspended 88 days within a 138-day period.




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                                 CONCLUSION

      Contrary to Defendant's consistent attempt to misdirect the attention from

the material facts, GM's actions show a malicious intent with an elaborate effort to

conceal unfair employment practices including a clear breach of contract. Liggons’

has provided substantial evidence to support a claim of discrimination, hostile

work environment and retaliation.

      For the reasons stated above Appellant respectfully request that this court

REMAND this case back to District Court for further review.



                                              Respectfully Submitted,


                                              /s/ Shawn L. Liggons
                                              Shawn L. Liggons
                                              Pro Se Plaintiff - Appellant




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                      CERTIFICATE OF COMPLIANCE

I hereby certify that the foregoing Brief complies with the type volume limitation

of Fed. R. App. P. 32(a)(6) and Fed. R. App. P. 32(a)(7)(B) as it was prepared in

using Times New Roman, 14 pt. Font, and contains 7,673 words.



                                                     Respectfully Submitted,


                                                     /s/ Shawn L. Liggons
                                                     Shawn L. Liggons
                                                     Pro Se Liggons’ - Appellant




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                               PROOF OF SERVICE

      I hereby certify that on March 27, 2024, a copy of Appellant’s Certification

was electronically filed with the Clerk of Court by email on March 27, 2024.

Notice of this filing will be sent to all parties by operation of the Court's electronic

filing system. Parties may access this filing through the Court's system, including

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UAW Exhibits U1 – U28

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Declaration of Robin Marr                                 54-1          1380-1381

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                           APPEAL EXIHIBITS

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Appeal Exhibit B                   January 12, 2016 Weather

Appeal Exhibit C                   April 2019 Calendar

Appeal Exhibit D                   Timecard for 04-01-19 Thru 04-07-19

Appeal Exhibit E                   July 2016 Calendar

Appeal Exhibit F                   2023 UAW GM White Book (CSA)

Appeal Exhibit G                   2023 Paragraph 98 White Book (CSA)

Appeal Exhibit H                   2023 Contract Hourly Highlights

Appeal Exhibit I                   NLRB Appeal 08-25-2020

Appeal Exhibit J                   NLRB Appeal 09-29-2020




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                                                              OCT 2023




                UAW GM
                AGREEMENT


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  A Message to UAW Members at GM
                                                           four times the gains in the 2019 contract. In fact, the
                                                           gains in each individual year of this agreement are
                                                           worth more than the entirety of the gains in the last
                                                           contract. The 2023 agreement is worth more than the
                                                           past four contracts combined. It has more in General
                                                           Wage Increases than GM workers have received in the
                                                           past 22 years combined.
                                                             And it’s not just record-breaking. As we’ve said, this
                                                           contract will change lives.
                                                            •   Our lowest-paid members will see a 158 percent
                                                                raise through the life of this agreement. That’s
                                                                not a typo. Temps hired this year at $16.67 will
 Dear UAW GM family,                                            earn over $40 per hour in base wages by the
  I think we can all agree that this has been a historic        end of this agreement, over $42 an hour with
round of negotiations. When we say we have made                 COLA.
history, we don’t just mean our leadership and our          •   Our CCA, GMCH, Subsystems, and Brownstown
national negotiators. We mean we, the UAW. We mean              members will see an immediate wage boost
the brave Stand Up Strikers of Local 2250 Wentzville            from 36 to 89 percent. A current GMCH member
Assembly. Then came the reinforcements, at all our              with 3 years of service, for instance, will see their
CCA facilities across the country, shutting down the            hourly wages jump nearly $17 overnight.
parts depots from California to North Carolina. Soon
they were joined by the members of Local 602 at             •   With COLA, by 2028, we’ll have a top rate of
Lansing Delta Assembly. That wasn’t enough for GM.              over $42 an hour for production, and over $50
So we took out the big guns: Arlington Local 276 put            for skilled trades, an over 30 percent raise. By
the company on the ropes, and mighty Spring Hill                the end of this agreement, our starting rate will
Local 1853 landed the knockout blow.                            be over $30 an hour, a 70 percent bump from
                                                                today.
  Everything we did at the bargaining table, every
extra hundred million we got the company to give             And just as importantly, we did it together. From
up, was because of you, the members. We send this          the International Executive Board and the President’s
contract to you because we know it breaks records.         Office to the UAW GM Department, to our national
We know it will change lives. But what happens next        negotiators, our National GM Council, our local
is up to you all.                                          leadership, and our rank-and-file members, everyone
                                                           played a role in securing this victory.
  We set out to do many things that we were told were
impossible. We fought like we’ve never fought before,        We went into this round of bargaining with the goal
and we won like we’ve never won since the days of          of addressing decades of concessions and givebacks.
Walter Reuther. We got back COLA. We brought back          We know that the Stand Up Strike will go down in
a three-year wage progression. We killed the wage          history. For months we have insisted that “Record
tiers at CCA and GMCH. We brought Subsystems and           Profits Mean Record Contracts,” and after standing
Brownstown into the Master Agreement.                      together, we made good on that demand. While we
                                                           may not have won everything we wanted, we won
  We also achieved something we were told just             more than most people thought was possible. This
weeks ago was impossible: we brought Ultium Cells          contract will not only change lives now, but it lays the
workers who make electric vehicle batteries for GM         foundation for even bigger gains in the future. That is
into our Master Agreement as well. We have stopped         why we both whole-heartedly endorse this tentative
the race to the bottom, and are ensuring that green        agreement.
jobs are good jobs.
  When we say it’s a record contract, that’s not just
talk. The gains in this agreement are worth more than
                                                   In solidarity,
               Shawn Fain, President                                   Mike Booth, Vice President
             International Union, UAW                                    UAW GM Department



                                                 QR Code for
                                                 White Book
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              Highlights
10% 401k Employer Contribution                 Profit Sharing Maintained and
                                               expanded to Temporaries
$1,500 voucher toward vehicle
purchase                                       $5,000 Ratification bonus
Cola Reinstated                                EV Work Commitment
Just Transition: Battery Work                  Journey persons can not be forced
Under Master Agreement                         to production
One Step Removed from                          Special Attrition Program (SAP)
Attendance procedure
                                               Right to strike over Plant Closures,
Historic Wage Increase                         Outsourcing, & Investment
Tuition Assistance for Dependents              Outsourcing Moratorium
reinstated at $1,600
                                               Additional Holiday added:
Wage Tiers Eliminated                          Juneteenth
Tuition Assistance increased to                Sub Pay eligible for all employees
$8,000                                         after 3 months including full-time
                                               temporary employees
Grow In reduced to 3 years
                                               Paid Parental Leave
No more tiered vacation time
                                               Retirement improvements for all
Secured Vacation Time
                                               Improvements to Industrial
All full-time temps with 90 days
                                               Hygiene and Ergonomics
converted to in-progression
                                               Considerations for married
All new temps converted to in-
                                               couples transferring
progression after 9 months
                                               Members with less than 2 years
Enhanced Relocation Package
                                               can transfer within the area hire
increased to $37,500
                                               $500 annual payment to eligible
Skilled Trades $1.50 Tool
                                               retirees
Allowance
                                               Sub Systems employees now fall
Product Investment
                                               under the National Agreement
Healthcare Enhancements
                                               Battery EV Plant Agreements
                                                                                      3
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    HISTORIC WAGE INCREASES | 7
       This tentative agreement provides historic economic gains for UAW members at GM through
     a combination of annual General Wage Increases (GWI), the reinstatement of Cost of Living
     Allowance (COLA), the shortening of the wage progression, the elimination of wage tiers, and
     the conversion of temporary workers.
            Through April 30, 2028, UAW members will receive more in general wage increases than
     they have in the past 21 years combined. Upon ratification, members at top rate will receive an
     11% wage increase, almost as much as GM workers have received in total since 2007. Members
     currently on lower wage tiers, temporary workers, and those not at top rate, will receive raises
     ranging from 36% to 89%, due to the immediate conversion to a shortened wage progression,
     and conversion of all temps.




               GENERAL WAGE INCREASES (GWI)




                                                                                                     } 25%
                           DATE                                    GWI Percentage
                  Upon Ratification                                         11%
                  September - 2024                                           3%
                  September - 2025                                           3%
                  September - 2026                                           3%
                  September - 2027                                           5%



                               Top Rate Example                                                Start Rate Example
                                    General Wage Increases (GWI)                                   General Wage Increases (GWI)
                                       (With Projected COLA)                                          (With Projected COLA)
                                             Production*           Skilled Trades*                                        Production
    Current Top Rate                            $32.32                  $36.85       Current Start Rate                     $18.04
    11% GWI (Upon Ratification)                 $3.56                   $4.05        39% Increase-New Progression            $7.08
    Skilled Trades Tool Allowance                  -                    $1.50        2023 COLA Estimate                      $0.12
    2023 COLA Estimate                          $0.12                   $0.12        End of 2023 Start Rate                 $25.24
    End of 2023 Top Rate                       $36.00                   $42.52       3% GWI (September 2024)                 $0.75
    3% GWI (September 2024)                     $1.08                   $1.27        2024 COLA Estimate                      $0.45
    2024 COLA Estimate                          $0.45                   $0.45        End of 2024 Start Rate                 $26.44
    End of 2024 Top Rate                        $37.53                  $44.24       3% GWI (September 2025)                 $0.78
    3% GWI (September 2025)                      $1.11                   $1.31       2025 COLA Estimate                      $0.36
    2025 COLA Estimate                          $0.36                   $0.36        End of 2025 Start Rate                 $27.58
    End of 2025 Top Rate                       $39.00                   $45.91       3% GWI (September 2026)                 $0.80
    3% GWI (September 2026)                      $1.14                  $1.35        2026 COLA Estimate                      $0.39
    2026 COLA Estimate                          $0.39                   $0.39        End of 2026 Start Rate                 $28.77
    End of 2026 Top Rate                       $40.53                   $47.65       5% GWI (September 2027)                 $1.37
    5% GWI (September 2027)                     $1.96                   $2.32        2027/2028 COLA Estimate                 $0.46
    2027/2028 COLA Estimate                     $0.46                   $0.46        End of Contract Start Rate             $30.60
    End of Contract Top Rate                    $42.95                  $50.43

     *Based on most-populated base rate



      WAGE INCREASE RETROACTIVE TO OCTOBER 23, 2023

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                                             TEMPORARY
                                              WORKERS
                                 NEW STARTING WAGE: $21.00 | 63
Your UAW national negotiators went into this set of negotiations with the mindset to improve all areas for
the temporary workforce. The misuse of temporary workers has historically been an issue and was one of
the top priorities of your negotiating team. Upon ratification all active temps with over three months of
continuous service will be converted to full-time status after ratification. Major improvements in all aspects
of the temporary workforce were achieved, including the time of employment it takes to become full-time.
The UAW national negotiators were able to win improvements for temporary workers, many of which help
bring equality within our membership.

All Full-Time Temporary Workers to be Converted                                Temporary Workers Eligible for Bereavement and
to Senority Status | 64                                                        Jury Duty Pay | 278
Your national negotiators were able to win language                            Your negotiators were able to win language for
that will allow for the converting of all full-time                            temporary workers to be eligible for Bereavement
temporary workers with three months of continuous                              and Jury Duty pay, with the same qualifying paid
service. Upon ratification all full-time temporary                             time off as a seniority member.
workers who have three months of continuous
service will convert to full-time status. Those who                            Ratification Bonus | 236
do not have three months of continuous service                                 All active Temporary Workers with 90 days service
will convert upon reaching 9 months of continuous                              prior to effective date will receive the $5,000
employment or if there is a full-time need at the                              Ratification Bonus. Payment will be made within two
facility, whichever happens first.                                             weeks of ratification of the agreement.
9-Month Maximum Period to Full-Time Status | 64,
65, 314
Your bargaining team was successful in lowering
the maximum length of time it takes a full-time
temporary worker to convert to senority status to 9
months of continuous employment.
30 days needed to break time as a temporary
member has been increased to 60 days.

Temporary Workers Now Eligible for Profit Sharing
Plan | EX. F 7 PLUS A
Your bargaining team was able to win eligibility
for temporary workers into the Profit Sharing Plan,
starting in 2024 for plan year 2023. This is a historic
win for these members, as it is the first time they
will be eligible for the Profit Sharing Plan since its
inception.




Wage Increases for Current Full-Time Temps with Three Months of Continuous Service
                       Current                                                                    Tentative Agreement
                                                                                                             Step
          Seniority              Hourly Rate         51%     Immediate   10%    Step Increase   17%                      21%   Step Increase   Step Increase
                                                                                                           Increase
     90 days to 52 weeks            $16.67                     $25.12              $27.72                  $32.36                 $39.12          $41.17
    53 weeks to 104 weeks           $16.67                     $26.91              $31.42                  $38.07                 $39.12          $41.17
                                                    61%                  17%                    21%                      3%

• Total wage increase ($16.67 to $41.17) is a 147% compounded increase                                * Credit received for all time worked
                                                                                                      * Does not include estimated $1.78 COLA over CBA term



                                                                                                                                                               5
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    New Hire Wage Progression | 113
      In a major victory, we have shortened the wage progression from the current eight years to just
    three years to top rate. Members will now reach top rate of their classification upon completion
    of working on active roll for 156 weeks (3 years). Current members will be placed and paid the
    appropriate hire-in-rate based upon the number of weeks on active roll as of the effective date of
    the 2023 Collective Bargaining Agreement.



                       HIRING-IN RATE SCHEDULE (3-YEAR GROW-IN)
                         On Active Roll                                                 % of Top Classification Rate
                         First 52 Weeks                                                                     70%
            Upon Completion of 52 Weeks                                                                     75%
           Upon Completion of 104 Weeks                                                                     85%
            Upon Completion of 156 Weeks                                                              Top Rate



                                       HOW WILL MY WAGES CHANGE?
                           Immediate                   September                    September
                                           + 52 week                     +52 week             +52 week        September      September
            My Current    Adjustments                     2024                         2025
                                              step                         step                 step             2026           2027
              Wage         at Ratifica-                    3%                           3%
                                            increase                     increase             Increase        3% Increase    5% Increase
                            tion 2023                   Increase                     Increase

             $18.04         $25.12          $26.91       $27.72          $31.42        $32.36      $38.07
              $19.10        $26.91         $30.50        $31.42          $36.96
             $20.69         $30.50          $35.88
             $24.40
                                                                                           $38.07                 $39.21        $41.17
             $25.46
             $26.52                                             $36.96
             $27.58                  $35.88
              $29.71
             $32.32
           * Rates in table above do not include COLA estimated to add $1.78 over life of agreement.




                       IMMEDIATE WAGE INCREASES - PRODUCTION
                                 Current
                           (8-year progression)                                      Tentative Agreement
                                          Hourly                                     (3-year progression)
                           Seniority
                                           Rate                              Seniority Progression      2023:
                                                          39% increase
                             Start        $18.04                               Start         70%        $25.12
                                                          41%
                            1 Years       $19.10                              1 Years        75%        $26.91
                                                          47%
                            2 Years       $20.69                              2 Years        85%       $30.50
                                                          47%
                            3 Years       $24.40                              3 Years       100%        $35.88
                            4 Years       $25.46
                            5 Years       $26.52
                            6 Years       $27.58           11% - 41%                      Continue through “How Will My     *Step increases
                            7 Years       $29.71       Immediate Top Rate                 Wages Change” table above         based on achieving
                            8 Years    Top Rate                                                                             52 weeks worked.

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    ENDING                                                     Immediate Wage Increases
                                                               Lower-Tiered CCA Members

     WAGE                                            Current
                                               (8-year progression)
                                                                                               Tentative Agreement
                                                                                               (3-year progression)


     TIERS                                     Seniority

                                                 Start
                                                             Hourly
                                                              Rate
                                                             $17.00
                                                                        48% increase
                                                                                          Seniority Progression
                                                                                            Start       70%
                                                                                                                   2023:
                                                                                                                   $25.12


     AT GM
                                                                            50%            1 Year       75%        $26.91
                                                 1 Year      $18.00
                                                                            61%            2 Years      85%        $30.50
                                                2 Years      $19.00


 | 76, 113-114,
                                                                            79%            3 Years      100%       $35.88
                                                3 Years     $20.00
                                                4 Years      $21.00
                                                                                                     Continue through “How


       303
                                                5 Years      $22.00           44% - 71%              Will My Wages Change”
                                                6 Years      $23.00       Immediate Top Rate         table
                                                7 Years      $24.00
                                                8 Years      $25.00
  Winning equal pay for equal work at GM
was a major priority in these negotiations.
We are excited to announce that this                       Immediate Wage Increases - GMCH
tentative agreement ends all wage tiers              Current                                    Tentative Agreement
at GM. All CCA, GMCH, and Subsystems           (8-year progression)                             (3-year progression)
members will immediately convert to the                      Hourly                       Seniority Progression    2023
                                               Seniority
                                                              Rate
main production rate upon ratification.          Start       $16.25
                                                                        55% increase        Start       70%        $25.12
We were also able to bring Subsystems            1 Year      $17.16
                                                                            57%            1 Year       75%        $26.91
                                                                                           2 Years      85%        $30.50
members into the Master Agreement.              2 Years      $18.06
                                                                            69%

                                                                            89%            3 Years      100%       $35.88
                                                3 Years      $18.96
                                                4 Years      $19.86
                                                                                                     Continue through “How
                                                5 Years      $20.46           59% - 81%              Will My Wages Change”
                                                6 Years      $21.07       Immediate Top Rate         table
                                                7 Years      $21.70
                                                8 Years      $22.50

  After killing wage                                    Immediate Wage Increases -
  tiers, IMMEDIATE                              Subsystems (Brownstown & Battery Assembler)


  WAGE INCREASES
                                                     Current                                   Tentative Agreement
                                               (6-year progression)                            (3-year progression)
                                                             Hourly                       Seniority Progression    2023
                                               Seniority
    ranging from                                              Rate
                                                                       36% increase        Start        70%        $25.12




     36 TO
                                                 Start       $18.50
                                                                           42%             1 Year       75%        $26.91
                                                 1 Year      $19.00
                                                                            53%           2 Years       85%       $30.50
                                                2 Years     $20.00
                                                                            71%           3 Years       100%       $35.88
                                                3 Years      $21.00
                                                4 Years     $22.00




     89%
                                                5 Years     $23.00          50% - 63%
                                                                                                     Continue through “How
                                                                                                     Will My Wages Change”
                                                6 Years     $24.00       Immediate Top Rate
                                                                                                     table


                                                               Immediate Wage Increases -
                                                                Subsystems (Non-Battery)
                                                     Current                                    Tentative Agreement


         upon
                                               (6-year progression)                             (3-year progression)
                                                             Hourly                       Seniority Progression    2023
                                               Seniority
                                                              Rate

      ratification
                                                                        36% increase
                                                 Start       $18.50                         Start       70%        $25.12
                                                                            42%
                                                 1 Year      $19.00                        1 Year       75%        $26.91
                                                                            56%
                                                2 Years      $19.50                        2 Years      85%        $30.50
                                                                            79%
                                                3 Years      $20.00                        3 Years      100%       $35.88
                                                4 Years      $20.50
                                                5 Years      $21.00          63% - 75%
                                                                                                     Continue through “How
                                                                                                     Will My Wages Change”
                                                6 Years      $22.00       Immediate Top Rate
                                                                                                     table

                                              *Step increases in the tables above based on achieving 52 weeks worked.        7
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           COLA RESTORED | 15-21
       The UAW first negotiated COLA back in 1948                  COLA also offers strong protection in the case
    with the purpose of protecting the wages of UAW              of extreme inflation like we have seen over the
    members against rising consumer prices. COLA                 past few years. For example, under a 5% average
    remained in place for over 60 years until it was             annual increase scenario (or 20%+ over the CBA
    suspended in 2009 due to the Global Financial                term) our COLA formula would generate $6.25
    Crisis.                                                      per hour.

      COLA is calculated quarterly based on changes                 COLA is presented separate from base wages
    in the Consumer Price Index (“CPI”) published                on your paycheck and will increase or decrease
    by the U.S. government and is included in your               based on increases or decreases in the CPI
    paycheck on a cents per hour basis.                          (increases in CPI = inflation, decreases = deflation)
                                                                 but in no circumstance will COLA drop below
         The COLA formula is estimated to generate               zero. COLA is included in computing overtime
    $1.78 per hour over the term of the CBA. This                premium, shift/crew premium, all contractual
    estimate is based on a 2.4% average annual                   paid time off, and call-in pay. Consistent with the
    inflation increase derived from the Wall Street              formula suspended in 2009, a 10 cent quarterly
    Journal Economic Survey. Under this scenario,                diversion is in place to offset healthcare inflation.
    COLA would provide a total value of around                   At the end of the contract, the total amount of
    $8,800 through the CBA term.                                 COLA generated will be folded into base wages
                                                                 minus five cents.


                          TOTAL ECONOMIC GAINS
                            Production     Skilled at   In-            GMCH         Lower Tier   Subsys-      Temps
                            at Full Rate   Full Rate    Progression                 CCA          tems         Converted

    Ratification Bonus      $5,000         $5,000       $5,000         $5,000       $5,000       $5,000       $5,000

    Tool Allowance                         $14,400

    Value of Wage Increase $54,900         $63,300      $120,800 -     $136,100 -   $125,300 -   $134,900 -   $160,700 -
                                                        $159,700       $185,000     $176,000     $173,400     $182,300
    COLA Estimate           $8,800         $8,800       $8,800         $8,800       $8,800       $8,800       $8,800

    Value of Economics      $68,700        $91,500      $134,600 -     $149,900 -   $139,100 -   $148,700 -   $174,500 -
    Gains                                               $173,500       $198,800     $189,800     $187,200     $196,100

    *Value of wage increases estimated using 2,080 straight-time hours annually. Any overtime would increase
    the value. Does not include profit sharing. Eligible profit sharing amounts were worth $40,000 over the last
    four years.

                  PROFIT SHARING MAINTAINED

               $5,000                                                   For the first time
            RATIFICATION                                                ever, temporary
               BONUS                                                    workers will receive
       Must meet eligibility requirements.                              profit-sharing.
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      RETIREMENT SECURITY
Retirement insecurity is one of the greatest economic injustices facing our country – and
our membership. We went into this round of negotiations committed to making huge
strides for current and future retirees. We didn’t get everything we wanted, but we got
more than many thought was possible.



CURRENT RETIREES & SURVIVING SPOUSES | EX. A 167
Under this agreement, current retirees and surviving spouses will receive a payment of $500
annually. For decades, surviving spouses received less than retirees – this contract not only re-
established annual bonuses for all retirees but provided the same amounts for surviving spouses.
Eligible if retired prior to October 1, 2023, with payments in December.
TRADITIONAL MEMBERS | EX. A 7
For current traditional members we won a $5 increase to the Basic Benefit which will result in
an increase of $1,800 a year to future pensioners. The Company will offer three Special Attrition
Programs (SAP) from January 2024 through the life of the agreement of $50,000 lump-sum
pre-tax retirement incentive for traditional employees who meet the normal or early retirement
eligibility requirements. The Company and the Union will agree on timing, size, and scope of the
offering.
IN-PROGRESSION MEMBERS | EX. G 23
For current In-Progression members, we won a groundbreaking 10% employer contribution—with
no required member contribution—to their 401k. This benefit is capped at 40 hours because our
union is fighting hard to ensure that everyone is provided a pathway to a dignified retirement
without having to work more than 40 hours a week.
Annuity | EX. G 114
In-Progression Members will be given the opportunity to purchase an annuity at a discounted rate
with funds from their 401(k).


 IN-PROGRESSION                      TRADITIONAL                        CURRENT RETIREES


 10%
 employer contribution
                                     $5
                                     Increase to Basic
                                                                        $500
                                                                        Annual Payments
 to 401(k)                           Benefit



     73% TO 146% INCREASE IN ANNUAL COMPANY
   CONTRIBUTION TO 401(K)S BY END OF AGREEMENT
GM Direct Stock Purchase Program | EX. G 106
Members will be able to purchase GM stock through payroll deductions in the near future.
Personal Savings Plan | EX. G 10
Temporary Employees will now be able to make personal contributions to a 401(k) account with 91
calendar days of employment.
Financial Well Being | EX. G 110
During these 2023 negotiations the bargaining committee was successful in securing language to
continue offering and expanding financial wellbeing services currently offered allowing Members
to better prepare for retirement.
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                 WINNING A JUST
               TRANSITION | 300-302
        Plant closures have turned our lives upside              venture with LG which produces battery cells
     down, uprooting our families and communities.               for electric vehicles. Residents were pitched on
     It’s not about whether or not this transition               a new facility bringing good paying green jobs
     happens. It’s about who gets the profits, and               back to Lordstown. What they found was a far
     who feels the pain.                                         cry from what was promised. These jobs are
          In March, 2019, General Motors closed the              dangerous, difficult, and pay low wages. Today,
     Lordstown Assembly Plant. Thousands of UAW                  the green jobs at Ultium Cells pay a $20 an hour
     members had to move, retire, or lose their jobs.            starting rate for production.
     For the community, the consequences were                      All that comes to an end with this agreement.
     devastating. So when GM announced plans to                    Upon ratification, Ultium employees will
     build a new Lordstown plant a couple years later,           become GM employees and be covered by the
     people thought this could be the opportunity                UAW-GM National Agreement. Ultium Cells will
     that finally made their families and communities            have a supplemental agreement that covers
     whole again.                                                health and safety and skilled trades.
        In 2022, GM opened Ultium Cells, a joint


     LORDSTOWN TRANSFERS
     After ratification, there will be a 6 month window for former Lordstown employees who were
     active at Lordstown Assembly Complex on November 26, 2018 to apply to return to Ultium Cells.
     Former Lordstown employees who transfer will retain their current wages, benefits, and seniority.

     WAGE SCALE FOR NEW HIRES
     All new hires will make a minimum of 75% of the maximum wage rate under the UAW-GM National
     Agreement. Production workers at Ultium Cells will receive an immediate pay increase of at least
     $6 to $8 an hour.

            Date of Increase           Minimum Production Wage at Ultium      Minimum Skilled Trades Wage at Ultium
              Ratification                          $26.91                                   $31.80
             Sept. 16, 2024                         $27.72                                   $32.75
             Sept. 15, 2025                         $28.55                                   $33.74
             Sept. 21, 2026                         $29.41                                   $34.75
             Sept. 20, 2027                         $30.88                                   $36.49




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       INVESTMENT | 296-298
 The bargaining committee had language put in place that secures investments previously
announced by General Motors:

                            ELECTRIC VEHICLES & COMPONENTS

                Plant                                    Product Investment

          Orion Assembly
                                           Future electric vehicles
        $4 billion investment

        Springhill Assembly
                                           2 GM EV’s (1 implemented) & future partner EV
        $2 billion investment

         Toledo Propulsion
                                           Drive unit production
       $760 million investment

          Lockport GMCH
                                           Electric motor stator module
       $154 million investment

          Bedford Casting
                                           Drive unit casting
       $96.7 million investment

       Warren Technical Center
        $81 million investment
                                           Celestiq


          Rochester GMCH
        $56 million investment
                                           Battery cooling lines


          Pontiac Stamping
        $40 million investment
                                           Flexible fabrication machining


           Defiance Casting
         $8 million investment
                                           EV casting cell


             Factory Zero                  Future electric full size SUV

                                                                                           11
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                                        ICE VEHICLES & COMPONENTS

                      Plant                                      Product Investment

                Flint Assembly
                                                   Additional volume capacity & next gen truck
             $851 million investment

             Ft. Wayne Assembly
                                                   Support volume capability & next gen truck
            $687 million investment

              Arlington Assembly
                                                   Support volume capability & next gen large SUV
            $555 million investment

                 Flint Engine
                                                   Gen 6 V8
            $579 million investment

                  Marion Metal
                                                   2 new presses, press lines & die refurbishment
             $491 million investment

                   Flint Metal
            $233.4 million investment
                                                   New dies


                    Bay City
             $216 million investment
                                                   Gen 6 V8 parts


             Lansing Delta Township
             $100 million investment
                                                   Next generation SUV


                Defiance Casting
              $79 million investment
                                                   Castings for Gen 6 V8


                   Parma Metal                     Press upgrades, volume increase
             $71.4 million investment              & future program


                Rochester GMCH
              $12 million investment
                                                   Gen 6 V8 parts


                Bedford Casting
              $7 million investment
                                                   Additional die casting capability




     These additional investments were also secured through negotiations:
     •   Electric Vehicle & Components
           1.     Lansing Grand River       $1.25 billion		   future electric vehicle
           2.     Fairfax Assembly		        $391 million		    future electric vehicle
           3.     Tonawanda Engine		        $300 million		    drive unit production
     •   Kokomo - Within 12 months of ratification and through the life of this agreement, sufficient
         work will be allocated to employ a minimum of 150 people.
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Additionally, the Global Vehicle Development Process (GVDP) will continue as the process
whereby future facility allocations may be made through the life of the agreement.

The Right To Strike Over Plant Closures Moratorium And Product And Investment | 259, 298
For the first time in our union’s history, we have won the right to strike over plant closures and
product and investment. These product commitments are backed up by the power of the strike
threat. That’s the strongest tool we have to protect our jobs, our families, and our communities.

Honoring Picket Lines | 311
It will not be a violation of the agreement if a member refuses to cross a picket line. If a member
refuses to cross a union sanctioned picket line, there will be no discharge or discipline provided
the member believes that crossing the picket line would endanger their health and safety.




                                                                                                      13
14
     RECORD Equal RECORD
     PROFITS      CONTRACTS
 VALUE OF GAINS IN TENTATIVE AGREEMENT
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                   vs.   Value of gains in
                          2023 TA worth
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                          more than 4X
                         value of gains in
                            2019 CBA
                                              Page: 65




                           More in raises
                         than past 22 years
                             combined.


        2019 CBA            2023 TA
 Wage Increases in
                                                Current GM
                                                                     Some lower tiered workers
2023 GM Agreement                               Temps Get
                                                                        at GMCH get up to
                      All Wage Increases
                       from 2001–2022

     25%                                   158%
                                            Raise Through 2023
                         23%                    Agreement
                                                                      89%
                                                                        Raise Immediately
                                                                                                 Case: 23-3890
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 Starting Wage Will    Top Wage Will
   Increase About     Increase About
                                           Current GM temps with     Some lower tiered workers
                                           90 days get between a        at CCA get up to

     70%               33%
                                                                                                 Filed: 03/27/2024




                                             51 – 61%
                                           raise immediately upon
           Through 2023                    ratification, depending
           GM Agreement                      on years of service.
                                                                      79%
                                                                       Raise Immediately
                                                                                                 Page: 66




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     SKILLED TRADES                                            March 1st and September 1st of each year.
                                                          •    Reimbursement for STARC courses will
     Tooling Allowance                                         occur 90 days after being indentured.
     $1.50/ hour tooling                                  •    Increased apprenticeship offers for all
                                                               UAW-GM STARC readiness candidates.
     allowance folded into rate                           Two Year Requirement waived for all
     upon ratification | 8                                Apprentices indentured in 2017, 2018, and 2019
                                                          | 374
     The national negotiating committee was               The UAW Bargaining Team was successful
     successful in attaining a special one-time           in negotiating the removal of the two (2)
     increase of $1.50 per hour that will be added        year requirement of the Apprentice Training
     to the base rates of skilled tradespersons.          Agreement for all apprentices indentured in 2017,
     The increase will be applied upon ratification       2018, and 2019. This enables these Electrical
     of the tentative agreement after the general         Apprentices to leave the company without
     wage increase of 11% for 2023.                       repayment obligations after meeting the two (2)
                                                          year requirement after completing on-the-job
     Layoff | 49                                          hours to become an in-plant journeyperson.
     Skilled Trades on Layoff (ILO) will not be forced
     into production jobs.                                Increase to Meals Expense for Apprentices | 361
                                                          Apprentices will be able to expense their meals
     Doc. 86- Skilled Working in Production               on a GM Corporate Credit Card consistent
     renewal | 229-232                                    with the GM travel and Expense Policy.
     Within 120 Days of the effective date of the         • Daily expenses increased to
     2023 UAW-GM National Agreement, the                     up to $75 per day.
     National Parties will establish an application       • Daily required receipts to mirror GM policy.
     period for Skilled trades employees that are
     currently working production to express              Elimination of the MOU for the SSO
     their desire to receive an offer to fill skilled     classification at the Engineering facilities | 370-
     trades openings by submitting application            371
     to their Local Apprentice Committees.                Within 120 days of the effective date of the
                                                          2023 UAW-GM National Agreement, the
                                                          National Parties, with the assistance of the
     Employee Referral Programs | 372
                                                          Local Apprentice Committees, will establish
     The National Parties agreed to develop
                                                          an application period for current SSOs and
     a process for UAW-GM employees to
                                                          former SSOs with recall rights to receive an
     refer external Skilled Trades candidates
                                                          offer to transition to an open skilled trades
     for open Skilled Trades positions.
                                                          job as a Journeyperson-in-Training (JIT).
     Elimination of the MOUs regarding the Tool &
     Die Maker Classification | 368                       Doc. 63-Apprentice Training & Journeyperson
     Skilled Trades members who have a UAW                Development Strengthened | 224-226
     Tool & Die Maker Journeyperson card or               The UAW was successful in changing the
     have a UAW-GM Tool & Die Maker certificate           language in Doc. 63. Apprentices will be
     of completion of apprenticeship can apply            indentured using a new formula. The formula
     for transfer into a Toolmaker or Die Maker           will use the number of Journeypersons who
     opening and will maintain their Tool & Die           are sixty-one (61) years of age or older as of
     Maker Skilled Trades Date of entry.                  January 31, 2024, in all apprenticeable trades
                                                          throughout UAW-GM facilities, to calculate
     Improvements to the STARC program | 222-             the number of apprentices owed. This new
     223, 362-364                                         formula will result in the placement of six
     • The STARC readiness lists will be refreshed        hundred fifty (650) new apprentices during
        bi-annually and published no later than           the life of the 2023 National agreement.
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                                WORK LIFE BALANCE
                                 Vacation | 116
                                 All employees with 20 years or
                                 more of service are eligible for
                                 200 hours of vacation.

                                 Vacation Approval | 37
                                 The company has agreed that all vacation
                                 applications will be returned within 3 days.
                                 The only exception is those made during
                                 the February Vacation Application Period.

                                 Paid Parental Leave | 275
                                 Effective January 1, 2024, eligible
                                 members may be provided up to 2
                                 weeks of paid time off for a leave
                                 of absence for birth, adoption,
                                 surrogacy, or foster care situations.

                                 Holidays | 38
                                 Juneteenth added as a paid holiday.

                                 Bereavement | 45
                                 Time off for grandchild and current spouse’s
                                 parent increased from 3 to 5 days.

                                 Work Life Balance | 318
                                 A Committee will be formed to explore and
                                 discuss work life balance issues aiming to
                                 improve work life balance for members.


                                                                                17
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     HEALTH & SAFETY
     Document 46 Industrial Hygiene/ Ergonomics         National Standards Committees | 346
     Representative | 339, 350-351                      Standards in Health and Safety are
     Sprains and strains are the most common            constantly changing. Many Companies
     recordable injury affecting our membership.        including General Motors have membership
     Your negotiations team was successful in           on committees that create and update
     negotiating a DOC.46 IH/ERGO alternate             consensus standards. It is agreed upon that
     representative. This new position will provide     the National Joint Committee on Health
     the membership with additional resources           and Safety will identify applicable standard
     to improve our ergonomics and Industrial           sub-committees to participate in and jointly
     Hygiene programs, to provide more coverage         select representatives for those committees.
     on the shop floor and keep the membership
     safe. In addition to functioning in the absence    High-Risk Tasks | 349
     of the IH/JETT, the alternate will be utilized     Whenever a high-risk task is scheduled
     during periods of launch as an extra resource.     to be completed a member of the Local
                                                        Joint Health and Safety will be on-site.
     Ergonomic Program Enhancements | 339
     During these negotiations, the                     Improvements to site Active
     parties discussed future ergonomic                 Shooter process | 335
     enhancements to the UAW-GM Ergonomics              Aware of the world we live in, the bargaining
     process. The Joint Parties agree:                  team solidified language regarding
     to develop or update a new                         workplace violence. Within 90 days of
     Risk Factor Checklist                              ratification the National Joint Committee
     • to utilize the latest version of jointly         will review the current policies to benchmark
         approved secondary tools                       improvement opportunities at all GM sites.
     • to create external competency training
     • to make additional future revisions              Gate Pass | 337
         of the Technological Ergonomic                 As our worksites become more diverse
         Database with Joint input                      so do the people that visit our worksites.
     • to update existing Ergonomic training and        Contractors, Truck Drivers, Expeditors and
         identify future program enhancements           Vendors are increasingly more diverse and
     the plant population to qualify for a full         for many English is a second language.
     time IH/JETT was reduced from 750 to 500           To make sure that all visitors understand
     in an effort to reduce strains and sprains         the rules that keep our membership safe.
                                                        The Joint Parties agreed to explore the
     New IH and Ergo Equipment | 338                    utilization of QR Codes on safety signage and
     In addition to the improvements to the             documents that supports different languages
     ergonomics program, the union made the             for review before entering our worksites.
     company aware that the current IH and
     Ergo equipment being utilized by the JET/          Health and Safety Conferences and Training
     IH representatives are increasingly becoming       Seminars | 340
     inoperable and/or obsolete. The Parties will       During these negotiations, the parties
     jointly survey all UAW-GM represented sites        discussed the existing agreements and
     to determine the availability and condition        practices regarding Joint Health and
     of this equipment and the National Joint           Safety Conferences and training seminars.
     Committee will determine the equipment             A Joint Health and Safety Conference will
     that needs to be replaced/ updated and             be held biannually, a training seminar will
     provided by the company. It is agreed              be scheduled during the years when no
     that it is the responsibility of each site to      conference is scheduled. The parties agree
     maintain jointly supplied equipment.               that this innovative approach will provide
                                                        a robust learning experience for our UAW-
                                                        GM Health and Safety Professionals.
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EV Safety | 343-344                                    DURATION & RATIFICATION
A new performance standard (PS-24) was
                                                       The terms of this proposed agreement
developed for the Workplace Safety System
to ensure common workplace safe practices
                                                       will not take effect until the tentative
at all sites handling Lithium-Ion batteries.           agreement is ratified by a majority of
                                                       UAW members at GM, and only then
Fall Hazard | 336                                      on the appropriate dates specified.
Due to recent updates of government,                   The new agreement, if ratified, will
manufacturer and consensus guidelines,                 run for four years and nine months
some fall hazard equipment may no longer               and will expire April 30, 2028.
be in compliance. A joint document for
addressing new or existing anchorage points            DUES: A CONSTITUTIONAL MATTER
based on updates to UAW-GM PS03, will                  Dues are determined by UAW
be published. The company agrees that the              Constitutional Convention action and
required inspections of training towers and
                                                       are not a subject of negotiations.
permanent anchorage points will be completed
in accordance with all related guidelines.
                                                       Dues are based on the principle
                                                       that they reflect each member’s
Joint Company Research Funding | 137-138               cash income, normally 2.5 hours of
 Protecting the health and safety of our               straight-time pay per month. Lump-
membership not only includes our efforts in            sum cash payments are subject to
implementing safety programs at our worksites,         dues because they also represent cash
and creating a safety culture, but also includes       income and are assessed at the rate
occupational health and safety research. These         of 1.44%, which is equivalent to 2.5
negotiations resulted in the UAW securing              hours of straight-time pay per month.
a commitment from GM to be part of a joint
auto company research project. Within 90               UAW GM HOURLY
days of ratification, the parties will develop
                                                       This report is based on the tentative
a research agenda in the following areas:
• Isocyanates.
                                                       agreement negotiated by the
• Accident prevention to eliminate fatalities.         UAW 2023 National Negotiating
• Industrial hygiene sampling, exposure                Committee. This is a summary of
    assessments and medical surveillance.              the tentative agreement. In all cases
• Breast cancer prevention.                            actual contract language will apply.
• Opioid use disorder intervention.

                                                                                                  19
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                EMPLOYEE PLACEMENT
                   & TRANSFERS
     Special Transfer Opportunity: Members               Relocation Allowance | 4-6, 325
     on a Formal Leave of Absence | 326-327              Your Bargaining Team negotiated an
     Modification was made to the Appendix A             increase in the Relocation Allowance
     language that allows members, Production            paid to members when transferring to
     and Skilled Trades, who are on a formal             other locations in the Extended Area
     leave of absence with no company-paid               Hire. The new amount is as Follows:
     benefits to apply for Appendix A transfer           Option-1 Enhanced Relocation Package: $37,500
     opportunities of their choosing.                    Members will not be expected to pay back
                                                         any portion of the signing bonus if the
     Appendix A: Application Period | 320                company cancels a Transfer Opportunity
     The Appendix A Application Period                   after the signing bonus has been paid out.
     for Posted transfer opportunities will
     reduce from 10 days to 7 days.                      2 Year Seniority Requirement for Transfer | 48
                                                         Members with less than two years
     Hardship Transfer Opportunity | 322                 seniority will be eligible to transfer via
     The Union and company agreed to language            Appendix A within their area hire.
     that allows member to make application
     to transfer due to a temporary Hardship.
     Approval will be limited to members that
     need to care for an immediate family
     member with serious illness or imminent
     death. Final determination will be based
                                                         SUPPLEMENTAL
     off the medical information provided from
     the patient’s attending physician and the
                                                         UNEMPLOYMENT
     Company’s Corporate Medical Department.             BENEFITS (SUB)
     Married Couples | 328
     During negotiations the Union and company           The UAW was successful in getting SUB
     solidified language allowing married couples        weeks fully replenished. Any employee
     and unmarried couples with children selected        who used SUB during the life of the 2019
     for transfer to be de-selected when only            agreement will have their SUB weeks fully
     one member is selected to fill a job transfer       replenished once employee returns to work.
     opportunity. Both members must make
     application to invoke this special consideration.   SUB In-Progression and Traditional | EX. D 26
                                                         With 90 days of service, you will receive
     Area Hire | 323                                     52 weeks of Sub then 52 weeks of TSP
     An agreement has been made to include Fort          (Transition Support Program) and 24
     Wayne in the Area Hire for Kokomo GMCH.             months of continued health coverage.

     Skilled Trades Appendix A Transfer                  SUB Pay eligibility 90 days
     Eligibility for GMCH Facilities | 106-107           including Temps | EX. D 6-7
     The Union and company agreed to                     Full time temps with 90 days will
     allow skilled trades members at GMCH                receive short work week benefits
     and GM plants to be eligible to transfer            and temporary layoff benefits.
     to posted job openings at both GMCH
     and GM under the provisions of the
     UAW-GM National Agreement.



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                              BENEFITS
         IMPROVED. EXPANDED. PROTECTED
No Increases to Co-Pays/Deductibles
or out of pocket cost | EX. C
All current co-pays and deductibles have been
                                                      DEPENDENTS
maintained.
                                                       Work Related fatality coverage for
Health Care Day 1 | EX. C 35                           Dependents | EX. C 47
Health Care coverage will now start on the date        If a Member loses their life as a result
of hire for all new hires.                             of a work related injury, dependents
                                                       will be covered up to age 26.
Health Care Continuation 24 months | EX. C 38
All Traditional and In-Progression members get         T&PD Children Coverage | EX. C 54
healthcare on layoff for up to 24 months               Adjusted the Total & Permanent Disabled
                                                       (T&PD) Children Coverage beyond age 26
$1 per Hour Worked for Post-Employment                 if the member’s dependent child becomes
Healthcare                                             T&PD prior to the end of the calendar
Maintained the $1.00 per hour for post-                month in which the child turns age 26.
employment Healthcare.
                                                       Memorialized age 26 provisions of the ACA
                                                       | EX. C 52-55
EXPANDED AREAS                                         This is to protect the members if
                                                       our government changes laws to
OF COVERAGE                                            PPACA. Member’s dependents will be
                                                       covered under company healthcare
Chiropractic Coverage | EX. C 164 PLUS A
Chiropractic Coverage is now a covered benefit
and will allow for 24 spinal manipulations.
                                                    Disability Appeal and IMO | EX. B 110, 147
Allergy Testing is now covered | EX. C 127
                                                    The UAW was successful in streamlining and
Allergy Testing will no longer be an excluded
                                                    strengthening the disability appeal process for a
benefit.
                                                    member including getting an Independent Medical
Lasik benefit increase | EX. C 208                  Opinion (IMO)/Independent Medical Examiner
The amount was increased to $350 and now            (IME) for any member that has been discharged
also provides those Members who may still           prior to concluding their appeal process.
require corrective eyewear the ability to utilize
                                                    Extended Disability Benefits In-Progression
the benefit 12 months after surgery.
                                                    | EX. B (20) (21)
Frames once per calendar year | EX. C 209           In-Progression Members will see an increase in
New frames are now covered annually, not            duration in which they can receive EDB, 1 year
every other year.                                   seniority will now allow for up to 10 years or age 65.
Fertility Treatments | EX. C 164 PLUS B             Medicare Part B | EX. C 336
Never before a covered benefit, now a total of      The premium will be reimbursed for
$5000 combined annual benefit.                      medicare part B active members.
Dental Allotment | EX. C 196                        Travel Benefit | EX. C 164
Increased from $1850 to $2000                       Members will be able to receive travel and
                                                    lodging expenses up to $2000 annually for
                                                    covered medical expenses or under IRS Code
Sick Leaves of Absence | EX. B 23                   Section 213(d) in the event no network provider
Nurse Practitioners, Physicians Assistants          is available within 150 miles of the member’s
and Midwives (birthing purposes) will now be        primary address and virtual care is not an option.
able to provide certification for sick leaves.
                                                                                                         21
              Education & Training
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     Training | 101-105, 358-359                        Tuition Assistance Program for Laid off
     Your committee’s commitment to enhance             members | 108-112
     and maintain full involvement in all aspects       TAP benefits for laid off workers who have at
     of current and future training designated          least one year of seniority as of the last day
     for UAW members was successful in this             worked prior to layoff have also increased.
     round of bargaining. The UAW-GM Joint              Seniority as of date of layoff
     Skill Development and Training Committee           1-3 years 		        $7400
     will review all Joint Programs courses used        3-4 years		         $8400
     by the UAW-GM Membership to evaluate               4 or more years     $9400
     the effectiveness of technology, objectives
     and materials used in these courses.               Other improvements within the TAP program
                                                        | 108-112, 356
     This committee will also look at the feasibility   • Surviving Spouses and dependents of
     of providing Train the Trainer (T3) training for       a deceased active seniority employee
     current and new technologies at the facility           will now be able to utilize the
     described in MOU Joint Activities or other             remaining balance of the deceased TAP
     jointly agreed to locations. Any company               allotment for the life of the agreement
     changes to the training plan administration            for degreed related courses.
     system or any correlating applications will        • Within 90 days of ratification, the joint
     now be jointly reviewed. Joint subject matter          parties will jointly update the appeal
     experts from UAW represented facilities                process for maintaining active TAP status
     will form a training plan administration               when an employee fails a course, including
     system advisory committee to address                   STARC program related courses.
     common system issues, assist with testing
     and review updates when implemented.               UAW Scholarship Program for Dependent
                                                        Children will be established | 279-281
     Tuition Assistance Program | 108-112               The bargaining committee was able to
     Going into this round of bargaining your           restore the benefit lost in 2009. Dependent
     negotiating team made it known that the            children of active UAW-GM represented
     rising cost of education was a concern for         employees who are pursuing post-secondary
     our members that wish to continue their            education or training at an institution
     education. With great persistence, significant     accredited by a governmental or nationally
     gains to TAP benefits were made not only           recognized agency will be eligible for an
     for full time workers but also for full time       annual maximum benefit award of $1600.00.
     Temporary employees with at least 90 days
     of continuous service. All employees with 90
     days of service full time or temporary qualify
     for TAP benefits. Qualifying members are
     now eligible for up to $8000.00 per year
     for degreed courses at regionally accredited
     colleges or universities. That is an increase
     of $3000.00 per year. Annual amounts
     for job related and personal enhancement
     courses were increased as follows:
     Job Related courses - $4000.00
     (annual increase of $1800.00)
     Personal Enhancement courses -
     $1500.00 (annual increase of $50.00)




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Quality Programs Strengthened
UAW members play a crucial role in the UAW Ford
“Best-in-Class” Quality Program. Your negotiators
strengthened supplier relations, reinforced the
charter process, and protected the number of
existing Quality Operating System Coordinator
(QOSC’s). By doing so, the union will have the ability
to hold the Company accountable to the Quality
Operating System (QOS) and provide us with greater
job security.

Joint Scheduled and Unscheduled Visits | 160A
Your negotiators won language that will provide the
National Quality Committee (NQC) with tools used
for unscheduled (No-Knocks) and scheduled audits.
This will provide improvements to the “UAW Ford
Best-in-Class Quality Program.”




GMS                                                      ADAPT | 352-353
Team Concept in CCA | 329                                Improved communications
The parties agreed that GMS is the single                New mandatory quarterly calls between
system to be used in all UAW represented sites.          plant level ADAPT Representatives and
This includes the adoption of team concept               the National ADAPT Team will create a
at CCA locations including establishing Team             more consistent application of the ADAPT
Leaders and Principle Basketweave Teams.                 process, resulting in better opportunities for
                                                         individuals with disabilities or restrictions.
VPAC | 334
Your negotiators were successful in                      Training
securing enhancements to the VPAC                        Agreement by the joint parties to conduct
(Vehicle Promotions Assistance Contact)                  a total review of Roles and Responsibilities,
process to include electronic tools to                   Implementation Guide, and Training Materials
assist customers, promote our union-built                as well as increased mandatory training will
products and protect personal information.               ensure every individual with restrictions will
                                                         have their circumstances properly reviewed and
People Recognition | 332                                 the best opportunities for work being provided.
The parties agreed to honor our
members innovative ideas with the                        Meetings
creation of a new “People Make Quality                   The bargaining committee negotiated
Happen” recognition event.                               mandatory meetings to review all No Jobs
                                                         Available Within Restriction (NJAWR) and
GMS Doc. 46 training pilot | 333                         provide members with the opportunity to
The negotiating team secured the development             return to work as quickly as possible.
of a pilot project to train GMS Doc. 46
representatives in the “leaders as calibrators”          Process Review
process to enhance their understanding                   Newly negotiated “Process Reviews” will
of calibrations and assessments.                         streamline resolution process when issues
                                                         are identified, as well as provide for the
                                                         sharing of “Best Practices” to all locations.
                                                         These process reviews will also provide the
                                                         National ADAPT Team the opportunity to
                                                         make strong recommendations regarding the
                                                         required handling and storage of confidential
                                                         information used in the ADAPT Process.
                                                                                                           23
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                          WORK FAMILY
                     | 197-206, 357, 381-383
     Enhancements
     To better serve the needs of UAW members and their families at General Motors the Bargaining
     Committee won important victories in our Work Family Program. The parties reaffirmed the
     importance of maintaining confidentiality and reinstated Document. No. 39, (Memorandum of
     Understanding Employee Assistance Program) and Document No. 37, (Resource and Referral
     Services). It was agreed that Work Family Awareness training will be available to the workforce,
     along with including Veteran Services resources.

     Childcare and Eldercare resource will be made available in the updated Policy and Procedure
     Manual along with a piloted on-site assessment for the Work Family Representatives. Your
     bargaining committee was also successful in maintaining Annual Professional Development for Doc
     46. Work Family Reps.



                              DIVERSITY | 354
     Commitment to Diversity Renewed
     The diversity program is a critical piece of our Union’s commitment to having a workplace
     free from hostility and harassment. Negotiators won language that recognizes that a proactive
     approach can potentially avoid problems. Annual Diversity Training will be provided for members
     of the Equal Application Committee along with T3 training. In addition, diversity training will
     continue to be available in New Employee Orientation.


     Vehicle Voucher | 315                                Legal Services | 287-289
     $1,500 non-transferrable vehicle voucher for         The UAW was successful in continuing to
     the purchase of a new GM vehicle in 2024.            provide the necessary funding to maintain the
                                                          Legal Services Plan as well as now allowing
     Bonus Taxes | 313                                    Temporary Employees the opportunity to use
     All bonuses will be paid in regular                  the benefit. If you leave the company you will
     weekly paychecks but will be taxed                   be able to finish a case you have started.
     separately from regular earnings.

     Document 8 | 165
     Members in steps 4 and 5 of the
     process will now be allowed to use
     VR time without pre-approval.
     All members will have the last step
     removed from their record.

     Joint Activities | 81-100
     The Joint Activities Trust Funds to be
     funded for the life of the agreement.

     Severe Weather Letter | EX. D 133 PLUS A
     The UAW was successful in strengthening the
     language around the weather letter pertaining
     to Short Work Week (SWW) for severe
     weather and the 40% threshold required.

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84 HOLIDAYS OVER FOUR AND A HALF YEARS
 Holiday Added | 43A-44A
 Your bargaining team won Juneteenth as an additional paid holiday. A total of eighty-four
 (84) holidays will be provided to UAW GM during the proposed agreement. All existing
 holidays are maintained. When a holiday falls on a Saturday it will be observed on the
 preceding Friday. When it falls on a Sunday it will be observed the following Monday.

                     2023-2024                                                 2024-2025

     Nov. 10, 2023       Veterans Day Observed              Nov. 5, 2024           Federal Election Day
     Nov. 23, 2023       Thanksgiving                       Nov. 11, 2024          Veterans Day
     Nov. 24, 2023       Day after Thanksgiving             Nov. 28, 2024          Thanksgiving




                     }
     Dec. 25, 2023                                          Nov. 29, 2024          Day after Thanksgiving
     Dec. 26, 2023                                          Dec. 23, 2024




                                                                             }
     Dec. 27, 2023       Christmas                          Dec. 24, 2024
     Dec. 28, 2023       Holiday                            Dec. 25, 2024
                                                            Dec. 26, 2024          Christmas
     Dec. 29, 2023       Period
                                                            Dec. 27, 2024          Holiday
     Jan. 1, 2024
                                                            Dec. 30, 2024          Period
     Jan. 15, 2024       Martin Luther King Jr. Day
     Mar 29, 2024        Good Friday                        Dec. 31, 2024
     April 1, 2024       Day after Easter                   Jan. 1, 2025
     May 27, 2024        Memorial Day                       Jan. 20, 2025          Martin Luther King Jr. Day
     June 19, 2024       Juneteenth Day                     April 18, 2025         Good Friday
     July 4, 2024        Independence Day                   April 21, 2025         Day after Easter
     July 5, 2024        Day after Independence Day         May 26, 2025           Memorial Day
     Sept. 2, 2024       Labor Day                          June 19, 2025          Juneteenth Day
                                                            July 4, 2025           Independence Day
                                                            Sept. 1, 2025          Labor Day

                     2025-2026                                                 2026-2027

     Nov. 11, 2025       Veterans Day                       Nov. 3, 2026           Federal Election Day
     Nov. 27, 2025       Thanksgiving                       Nov. 11, 2026          Veterans Day




                     }
     Nov. 28, 2025       Day after Thanksgiving             Nov. 26, 2026          Thanksgiving




                                                                             }
     Dec. 24, 2025                                          Nov. 27, 2026          Day after Thanksgiving
     Dec. 25, 2025                                          Dec. 24, 2026
     Dec. 26, 2025                                          Dec. 25, 2026
                         Christmas
     Dec. 29, 2025                                          Dec. 28, 2026          Christmas
                         Holiday
     Dec. 30, 2025                                          Dec. 29, 2026          Holiday
                         Period
     Dec. 31, 2025                                          Dec. 30, 2026          Period
     Jan. 1, 2026                                           Dec. 31, 2026
     Jan. 2, 2026                                           Jan. 1, 2027
     Jan. 19, 2026       Martin Luther King Jr. Day         Jan. 18, 2027          Martin Luther King Jr. Day
     April 3, 2026       Good Friday                        Mar. 26, 2027          Good Friday
     April 6, 2026       Day after Easter                   Mar. 29, 2027          Day after Easter
     May 25, 2026        Memorial Day                       May 31, 2027           Memorial Day
     June 19, 2026       Juneteenth Day                     June 18, 2027          Juneteenth Observed
     July 3, 2026        Independence Day Observed          July 5, 2027           Independence Day Observed
     Sept. 7, 2026       Labor Day                          Sept. 6, 2027          Labor Day

                                                  2027-2028
                                 Nov. 11, 2027        Veterans Day
                                 Nov. 25, 2027        Thanksgiving




                                                  }
                                 Nov. 26, 2027        Day after Thanksgiving
                                 Dec. 24, 2027
                                 Dec. 27, 2027
                                                      Christmas
                                 Dec. 28, 2027
                                                      Holiday
                                 Dec. 29, 2027
                                                      Period
                                 Dec. 30, 2027
                                 Dec. 31, 2027
                                 Jan. 17, 2028        Martin Luther King Jr. Day
                                 April 14, 2028       Good Friday
                                 April 17, 2028       Day after Easter
                                                                                                                25
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            THE NEGOTIATIONS PROCESS
       WHO’S WHO                                        UAW National GM Council: Elected local leadership at UAW-
                                                        represented GM facilities represent members’ interests on the
                                                        National Council.

                                                        UAW National GM Sub-Councils: National GM Council broken
                                                        down into departments or divisions (i.e. Skilled Trades, Assembly,
                                                        CCA).

                                                        UAW National Negotiators: Local UAW leadership elected within
                                                        each Sub-Council whose role is to negotiate the national contract.

                                                        Negotiations Sub-Committee: Made up of UAW National
                                                        Negotiators and the UAW National GM Department. Sub-
                                                        Committees are broken down by subject matter.

                                                        UAW National Resolutions Committee: Local UAW Leadership
                                                        elected with each Sub-Council whose role is to oversee and
                                                        organize resolutions received from the membership.

                                                        UAW National GM Department: International UAW Staff assigned
                                                        to GM.




                                             TIMELINE
          10.10.22             10.11.22           3.13.23              3.27.23              4.17.23             4.24.23




     UAW National         Letter sent        UAW National        UAW Special         UAW National           UAW National
     Resolutions          to local UAW       GM Sub-Councils     Bargaining          Resolutions            Negotiating
     Committee            leadership from    meet in Detroit     Convention is       Committee              Committee
     and National         UAW National       to approve          held in Detroit.    meets in Detroit       meets in Detroit
     Negotiators          GM Department      membership                              and organizes          for negotiations
     are elected in       requesting         resolutions from                        the approved           preparation and
     Atlantic City, NJ.   membership         their facilities.                       resolutions into the   National GM
                          resolutions.                                               2023 Collective        Department
                                                                                     Bargaining             reports.
                                                                                     Proposals Book.
          5.23.23              7.11.23             7.17.23             7.18.23             8.21.23              9.15.23




     UAW National         Membership         Opening             Negotiations         Strike                2019 UAW GM
     GM Council           demands are        Ceremony, AEB       begin in sub-        authorization         CBA expires.
     meets in New         complied with      GM Tech Center      committees. Each     voting begins
     Orleans, LA and      UAW National       – the official      piece of language    at UAW locals
     votes to approve     GM program         kick-off of the     negotiated is        and ended
     resolutions.         demands and        2023 National       reviewed and         on Thursday
     Resolutions then     assigned to the    Negotiations.       approved by all      8.24.2023
     become demands       appropriate sub-                       UAW National
     for negotiations.    committee.                             Negotiators.


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GENERAL MOTORS DEPARTMENT STAFF
          Mike Booth, Vice President and Director
       Dave Shoemaker                          Nicole Current                                       Mike Plater
     Administrative Assistant            Top Administrative Assistant                          Administrative Assistant

  Todd McDaniel             Leo J. Skudlarek II       Jason Beardsley               Chris Gallagher           Jeff Walker
 Assistant Director         Assistant Director       Assistant Director            Assistant Director      Assistant Director



                                  UAW GM NEGOTIATING COMMITTEE
  Sub-Council                                     Local               Sub-Council                                 Local
          1           Arniece                     1753                         3            Rob Egnor               211
                      Stephenson                                               3            Nick Capone            1097
         2            Wiley Turnage                22                                       Ed Smith
                                                                               4                                    659
         2            Eric Welter                  598                                      Chairperson
         2            Doug Bias                    31                                       Earl Fuller Jr.
                                                                               5                                    160
         3            Tony Mann                   668                                       Recording Sec.
         3            Jeff King                    14                          5            Kenny Hines             276
                      Vice Chairperson



                                                  COORDINATORS
                      Andrea N. Morrow                   Dave Matthews                     Dan Reyes
                       Sean D’Angelo                     John Szafranski                Monica M. Bradford
                                                          Amie Coville


                                                           STAFF
       Derik Jewell                     Matt Collins                        Michael Cox                     Rick Toldo III
   Candice Morrison                    Joanna Bonner                       Brian Fredline                    Matt Slade
Dewitt “Mac” McGowan Jr.                Shawn Cook                          Chris Webb                  Dwayne “Hawk” Hawkins
   Scott Lubaczewski                      Mia Carr                         Steve Gajewski                  Barry Campbell
      Sean Nagoda


                                             ADMINISTRATIVE STAFF
                              Della Turner                Mary Leak                 Gina Brugilo



                                        PRESIDENT’S OFFICE STAFF
      Chris Brooks                       Paul Caucci                        Jason Wade                      Benjamin Dictor
      Top Assistant                     Top Assistant                      Top Assistant                       Counsel

       Bill Karges                     James Britton                        Jeff Dokho                      Matt Uptmor
Associate General Council         Associate General Council              Research Director              Administrative Assistant

  Renee Turner-Bailey                Jonah Furman                           Max Fazeli                       Bob Mikulan
 Social Security Director         Communications Director                Assistant Director                Assistant Director

                                                           Rob Sciotti
                                                          Benefits Rep



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   2023 UAW GM NATIONAL NEGOTIATING TEAM



       Brooks                Caucci                     Fain                         Booth                    Current                Dictor




        Wade                  Plater                 Shoemaker                       Dokho                Turner-Bailey             McDaniel




        Smith              King                Fuller Jr.               Bias Jr.             Mann                  Turnage               Egnor




                Capone            Stephenson                 Welter                 Hines               Hilliard              Woodward




                        Skudlarek II           Beardsley               Gallagher             Walker                Matthews




                                       Reyes                Bradford               Hawkins            Szafranski

   This is the UAW GM National Negotiating Committee whose determined efforts, along with those of the UAW National GM
Department, and other UAW staff, produced this tentative agreement. Shawn Fain is the President of International Union, UAW; Mike
Booth is Vice President and Director of the UAW National GM Department; Nicole Current is the Top Administrative Assistant to
Booth; Chris Brooks, Paul Caucci and Jason Wade are Top Administrative Assistants to Fain; Benjamin Dictor is Counsel; Mike Plater
is Administrative Assistant UAW GM Department; Dave Shoemaker is Administrative Assistant UAW GM Department; Jeff Dokho is
Director of the UAW Research Department; Renee Turner-Bailey is Director of the UAW Social Security Department; Todd McDaniel
is Assistant Director UAW GM Department; Ed Smith is Chairperson, Local 659 Subcouncil 4; Jeff King is Vice Chairperson, Local 14
Subcouncil 3; Earl Fuller Jr., is Recording Secretary, Local 160 Subcouncil 5; Doug Bias Jr., Local 31 Subcouncil 2; Tony Mann, Local
668 Subcouncil 3; Wiley Turnage, Local 22 Subcouncil 2; Rob Egnor, Local 211 Subcouncil 3; Nick Capone, Local 1097 Subcouncil 3;
Arniece Stephenson, Local 1753 Subcouncil 1; Eric Welter, Local 598 Subcouncil 2; Kenny Hines, Local 276 Subcouncil 5; Takiesha
Hilliard, Local 598 UAW GM Subsystems Council; Jimmy Woodward, Local UAW 5960 GM Subsystems Council; Leo Skudlarek II is
Assistant Director UAW GM Benefits Department; Jason Beardsley is Assistant Director UAW GM Health and Safety Department;
Chris Gallagher is Assistant Director UAW GM Work Family, ADAPT and Training Departments; Jeff Walker is Assistant Director UAW
GM GMS Department; Dave Matthews is Coordinator UAW GM Department; Dan Reyes is Coordinator UAW GM Employee Placement
Department; Monica Bradford is Coordinator UAW GM Work Family Department; Dwayne Hawkins International Servicing Rep UAW
GM Department; John Szafranski is Coordinator UAW GM Training Department
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                                                    Exhibit T
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